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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                       Plaintiff,

         v.                                          Crim. Action No.: 1:21CR29-1
                                                                   (Judge Kleeh)

 DONOVAN SWIFT,

                       Defendant.

       ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
         CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 84],
          ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

         On       September    16,      2021,     the   Defendant,      Donovan   Swift

 (“Swift”), appeared before United States Magistrate Judge Michael

 J. Aloi and moved for permission to enter a plea of GUILTY to Count

 Three of the Indictment, charging him with Possession with Intent

 to Distribute Cocaine Hydrochloride, in violation of Title 21,

 United States Code, Sections 841(a)(1) and 841(b)(1)(C). Swift

 stated that he understood that the magistrate judge is not a United

 States District Judge, and Swift consented to pleading before the

 magistrate judge.            This Court referred Swift’s plea of guilty to

 the    magistrate       judge       for    the   purpose    of   administering     the

 allocution, pursuant to Federal Rule of Criminal Procedure 11,

 making       a    finding    as   to      whether   the   plea   was   knowingly   and

 voluntarily entered, and recommending to this Court whether the

 plea should be accepted.
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       Based upon Swift’s statements during the plea hearing, and

 the Government’s proffer establishing that an independent factual

 basis for the plea existed, the magistrate judge found that Swift

 was competent to enter a plea, that the plea was freely and

 voluntarily given, that Swift was aware of the nature of the

 charges against him and the consequences of his plea, and that a

 factual basis existed for the tendered plea.         The magistrate judge

 issued a Report and Recommendation Concerning Plea of Guilty in

 Felony Case (“R&R”) [Dkt. No. 84] finding a factual basis for the

 plea and recommending that this Court accept Swift’s plea of guilty

 to Count Three of the Indictment.

       The magistrate judge remanded Defendant to the custody of the

 United States Marshals Service.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R.         He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R.           Neither Swift nor the

 Government filed objections to the R&R.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R

 [Dkt. No. 84], provisionally ACCEPTS Swift’s guilty plea, and

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 ADJUDGES him GUILTY of the crime charged in Count Three of the

 Indictment.

       Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until

 it has received and reviewed the presentence investigation report

 prepared in this matter.

       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS the

 following:

       1.     The Probation Officer shall undertake a presentence

 investigation of Swift, and prepare a presentence investigation

 report for the Court;

       2.     The   Government   and   Swift   shall   each   provide   their

 narrative descriptions of the offense to the Probation Officer by

 October 22, 2021;

       3.     The presentence investigation report shall be disclosed

 to Swift, his counsel, and the Government on or before December

 20, 2021; however, the Probation Officer shall not disclose any

 sentencing recommendations made pursuant to Fed. R. Crim. P.

 32(e)(3);

       4.     Counsel may file written objections to the presentence

 investigation report on or before January 5, 2022;

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       5.    The Office of Probation shall submit the presentence

 investigation report with addendum to the Court on or before

 January 17, 2022; and

       6.    Counsel may file any written sentencing memorandum or

 statements     and     motions   for   departure   from    the   Sentencing

 Guidelines, including the factual basis for the same, on or before

 January 17, 2022.

       The Court further ORDERS that prior to sentencing, counsel

 for Defendant review with him the revised Standard Probation and

 Supervised Release Conditions adopted by this Court on November

 29, 2016, pursuant to the standing order entered by Chief Judge

 Groh, In Re: Revised Standard Probation and Supervised Release

 Conditions, 3:16-MC-56.

       The Court will conduct the Sentencing Hearing for Swift on

 February 3, 2022, at 12:30 p.m., at the Clarksburg, West Virginia

 point of holding court.          If counsel anticipates having multiple

 witnesses    or   an   otherwise   lengthy   sentencing   hearing,    please

 notify the Judge’s chamber staff so that an adequate amount of

 time can be scheduled.

       It is so ORDERED.




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       The Clerk is directed to transmit copies of this Order to

 counsel of record and all appropriate agencies.

 DATED: October 14, 2021


                                     /s/ Thomas S. Kleeh
                                     THOMAS S. KLEEH
                                     UNITED STATES DISTRICT JUDGE




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